







		NO. 12-08-00164-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: MICHAEL KENNEDY,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


	Michael Kennedy seeks a writ of mandamus compelling the trial court to conduct a pretrial
hearing and dismiss his counsel.  We deny the petition.

	In a criminal case, mandamus is appropriate when (1) the relator has no adequate remedy at
law and (2) the act sought to be compelled is ministerial rather than discretionary.  Ater v. Eighth
Court of Appeals, 802 S.W.2d 241, 243 (Tex. Crim. App.1991).  Kennedy has not alleged facts in
his petition that show an abuse of discretion by the trial court.  Accordingly, his petition for writ of
mandamus is denied.  


								     SAM GRIFFITH    

									  Justice



Opinion delivered May 21, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.








(DO NOT PUBLISH)



